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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    CARO MARKS, Bar #159267
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     MICHELLE NICOLE JENSEN
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,       )     NO. CR-S-04-297-FCD
10                                   )
                    Plaintiff,       )
11                                   )     STIPULATION AND ORDER
          v.                         )
12                                   )
     MICHELLE NICOLE JENSEN AND JOHN )
13   SMITH,                          )     Date: October 11, 2005
                                     )     Time: 9:30 p.m.
14                  Defendant.       )     Judge: Frank C. Damrell
                                     )
15   _______________________________
16
          MICHELLE NICOLE JENSEN, by and through her counsel, Caro Marks,
17
     Assistant Federal Defender, JOHN SMITH, by and through his counsel,
18
     Troy Ellerman, and the United States Government, by and through its
19
     counsel, Carolyn Delaney, Assistant United States Attorney, hereby
20
     stipulate and agree to vacate the previously scheduled Status
21
     Conference date of September 19, 2005 and continue the matter for a
22
     Status Conference on October 11, 2005 at 9:30 a.m..
23
          This continuance is needed to because Mr. Ellerman will be
24
     unavailable for the September 19, 2005 date. Additionally defense
25
     counsel is conducting further investigation in this case and needs the
26
     continuance to complete this investigation.
27
          Defense counsel has contacted AUSA Carolyn Delaney and she does
28
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1    not object to this continuance.
2         IT IS FURTHER STIPULATED that the period from September 19, 2005
3    up to and including October 11, 2005 be excluded in computing the time
4    within which trial must commence under the Speedy Trial Act, pursuant
5    to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for preparation of
6    counsel.
7
8                                           Respectfully submitted,
9                                           QUIN DENVIR
                                            Federal Defender
10
11                                          /s/ Caro Marks
                                            ________________________
12                                          CARO MARKS
                                            Assistant Federal Defender
13                                          Attorney for Defendant
                                            MICHELLE NICOLE JENSEN
14
     Dated: September 15, 2005              /s/ Troy Ellerman
15                                          _______________________________
                                            TROY ELLERMAN
16                                          Attorney for Defendant
                                            JOHN SMITH
17
18   Dated: September 15, 2005
19                                          MCGREGOR SCOTT
                                            United States Attorney
20
21                                          /s/ Carolyn Delaney
22                                          CAROLYN DELANEY
                                            Assistant U.S. Attorney
23
24                                       ORDER
25   IT IS SO ORDERED.
26   Dated: September 15, 2005
27                                          /s/ Frank C. Damrell Jr.
                                            FRANK C. DAMRELL JR.
28                                          U.S. District Judge


                                            2
